      Case 2:07-cr-00515-WBS Document 156 Filed 05/22/09 Page 1 of 3


 1   HAYES H. GABLE III
     Attorney at Law
 2   State Bar No. 60368
     428 J Street, Suite 350
 3   Sacramento, CA 95814
     (916) 446-3331
 4   Fax: (916) 447-2988
 5   Attorney for Defendant
     JAIME JIMINEZ
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                                Cr. S-07-515 WBS
12
                            Plaintiff,                        STIPULATION AND [PROPOSED]
13                                                            ORDER RE: CONTINUANCE OF
                                                              STATUS CONFERENCE AND
14           vs.                                              EXCLUSION OF TIME UNDER
                                                              SPEEDY TRIAL ACT
15   ARMANDO CHAVEZ, et al.
16                          Defendant(s).                     Hon. William B. Shubb
17
18                                             STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Michael Beckwith, and defendants Armando Chavez, Alex Hernandez, Juan Villa, Jr.
21   Jaime Jiminez and Marcicella Villa, by and through their respective counsel, Thomas Johnson,
22   Michael Bigelow, Daniel Davis, Hayes H. Gable III, and Kresta Daly agree and stipulate to vacate
23   the existing hearing date in the above-captioned action, May 26, 2009, and to continue the matter
24   to June 15, 2009, at 8:30 a.m., for status conference.
25          The reason for this continuance is that the government and defendants continue to negotiate
26   a resolution of this case and the additional time is necessary to complete these negotiations. The
27   parties further agree and stipulate that the period from the filing of this stipulation until June 15,
28   2009, should be excluded in computing time for commencement of trial under the Speedy Trial Act,
     based upon the interest of justice under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow
      Case 2:07-cr-00515-WBS Document 156 Filed 05/22/09 Page 2 of 3


 1   continuity of counsel and to allow reasonable time necessary for effective presentation.
 2          It is further agreed and stipulated that the need of defense counsel to prepare exceeds the
 3   public’s interest in commencing trial within 70 days.
 4          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5
 6   IT IS SO STIPULATED
 7   DATE: May 21, 2009                                                   s/Hayes H. Gable, III for
                                                                 THOMAS JOHNSON
 8                                                               Attorney for Defendant
                                                                 ARMANDO CHAVEZ
 9
10                                                                 s/Hayes H. Gable, III for
                                                                 MICHAEL BIGELOW
11                                                               Attorney for Defendant
                                                                 ALEX HERNANDEZ
12
13                                                                  s/Hayes H. Gable, III for
                                                                 DANIEL DAVIS
14                                                               Attorney for Defendant
                                                                 JUAN VILLA, JR
15
16
                                                                  s/Hayes H. Gable, III
17                                                               HAYES H. GABLE, III
                                                                 Attorney for Defendant
18                                                               JAIME JIMINEZ
19
                                                                  s/Hayes H. Gable, III for
20                                                               KRESTA DALY
                                                                 Attorney for Defendant
21                                                               MARICELLA VILLA
22
     DATE: May 21, 2009
23                                                                s/Hayes H. Gable, III for
                                                                 MICHAEL BECKWITH
24                                                               Asst. U.S. Attorney
25
26
27
28

                                                    -2-
      Case 2:07-cr-00515-WBS Document 156 Filed 05/22/09 Page 3 of 3


 1                                                ORDER
 2          For the reasons set forth in the foregoing stipulation, the status conference in the above-
 3   entitled action is continued to June 15, 2009, at 8:30 a.m. The court finds excludable time in this
 4   matter from May 26, 2009, through June 15, 2009, under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
 5   Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective
 6   presentation. For the reasons stipulated by the parties, the Court finds that the interest of justice
 7   served by granting the requested continuance outweigh the best interests of the public and the
 8   defendant in a speedy trial. 18 U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
 9   IT IS SO ORDERED.
10
11   DATE: May 22, 2009
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     -3-
